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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------x
  RAMON SANTOS                                                         CV

                                              Plaintiff,
                      v.                                               COMPLAINT

  JERRY LEBEDOWICZ AND PEBBLE CORP.                                    JURY TRIAL REQUESTED

                                              Defendants.
  ---------------------------------------------------------------x

                                           COMPLAINT

        Plaintiff Ramon Santos (hereafter referred to as “Plaintiff”), by counsel, Parker

Hanski LLC, as and for the Complaint in this action against Defendants Jerry

Lebedowicz and Pebble Corp. (together referred to as “Defendants”), hereby alleges as

follows:

                                  NATURE OF THE CLAIMS

        1.       This lawsuit opposes pervasive, ongoing, and inexcusable disability

discrimination by the Defendants. In this action, Plaintiff seeks declaratory, injunctive,

and equitable relief, as well as monetary damages and attorney’s fees, costs, and expenses

to redress Defendants’ unlawful disability discrimination against Plaintiff, in violation of

Title III of the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§ 12181 et. seq. and

its implementing regulations, the New York State Human Rights Law (“NYSHRL”),

Article 15 of the New York State Executive Law (“Executive Law”), the New York State

Civil Rights Law, § 40 et. seq., and the New York City Human Rights Law

(“NYCHRL”), Title 8 of the Administrative Code of the City of New York

(''Administrative Code''). As explained more fully below, Defendants own, lease, lease

to, operate, and control a place of public accommodation that violates the above-
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mentioned laws. Defendants are vicariously liable for the acts and omissions of their

employees and agents for the conduct alleged herein.

        2.       These Defendants made a financial decision to ignore the explicit legal

requirements for making their place of public accommodation accessible to persons with

disabilities – all in the hopes that they would never be caught. In so doing, Defendants

made a calculated, but unlawful, decision that disabled customers are not worthy. The

day has come for Defendants to accept responsibility. This action seeks to right that

wrong via recompensing Plaintiff and making Defendants’ place of public

accommodation fully accessible so that Plaintiff can finally enjoy the full and equal

opportunity that Defendants provide to non-disabled customers.

                              JURISDICTION AND VENUE

        3.         This Court has jurisdiction over this matter pursuant to 42 U.S.C. §

12188, and 28 U.S.C. §§ 1331 and 1343 as this action involves federal questions

regarding the deprivation of Plaintiff's rights under the ADA. The Court has

supplemental jurisdiction over Plaintiff's related claims arising under the New York State

and City laws pursuant to 28 U.S.C. § 1367(a).

        4.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because

Defendants’ acts of discrimination alleged herein occurred in this district and

Defendants’ place of public accommodation that is the subject of this action is located in

this district.

                                         PARTIES

        5.       At all times relevant to this action, Plaintiff Ramon Santos has been and

remains currently a resident of the State and City of New York.




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       6.      At all times relevant to this action, Plaintiff Ramon Santos has been and

remains a wheelchair user. Plaintiff suffers from medical conditions that inhibit walking

and restrict body motion range and movement.

       7.      Defendant Jerry Lebedowicz owns the property located at 164 Bedford

Avenue in Kings County, New York (hereinafter referred to as “164 Bedford Avenue“).

       8.      At all relevant times, defendant Pebble Corp. operates and/or leases

property located at 164 Bedford Avenue from the defendant Jerry Lebedowicz

(hereinafter referred to as the “Sweet Chick premises”).

       9.      Upon information and belief, Jerry Lebedowicz and Pebble Corp. have a

written lease agreement.

       10.     Upon information and belief Jerry Lebedowicz resides and does business

in New York State.

       11.     Upon information and belief defendant Pebble Corp. is licensed to and

does business in New York State.

             ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

       12.     Each of the Defendants is a public accommodation as they own, lease,

lease to, control or operate a place of public accommodation, the Sweet Chick premises

located at 164 Bedford Avenue, within the meaning of the ADA (42 U.S.C. § 12181 and

28 C.F.R. § 36.104), the NYSHRL (Executive Law § 292(9)) and the NYCHRL

(Administrative Code § 8-102).

       13.     The Sweet Chick premises is a place of public accommodation within the

meaning of the ADA (42 U.S.C. § 12181 and 28 C.F.R. § 36.104), the NYSHRL




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(Executive Law § 292(9)) and the NYCHRL (Administrative Code (§ 8-102) as it is a

facility operated by a private entity and its operations affect commerce.

        14.     Numerous architectural barriers exist at the Sweet Chick premises that

prevent and/or restrict access to Plaintiff, a person with a disability, which include, but

are not limited to, architectural barriers at the paths of travel.

        15.     Upon information and belief, at some time after January 1992, alterations

were made to 164 Bedford Avenue, including areas adjacent and/or attached to 164

Bedford Avenue.

        16.     Upon information and belief, at some time after January 1992, alterations

were made to the Sweet Chick premises, and to areas of 164 Bedford Avenue related to

the Sweet Chick premises.

        17.     Within the past three years of filing this action, Plaintiff attempted to and

desired to access the Sweet Chick premises.

        18.     Plaintiff, however, encountered the inaccessible front entrance at the

Sweet Chick premises which denied him entry due to the use of his wheelchair.

        19.     Due to the inaccessible entrance and other barriers to wheelchair access

detailed herein, Plaintiff is deterred from accessing the Sweet Chick premises.

        20.     The services, features, elements and spaces of the Sweet Chick premises

are not readily accessible to, or usable by Plaintiff as required by the 1991 ADA

Standards for Accessible Design codified in 28 C.F.R. Part 36, Appendix D (hereinafter

referred to as the “1991 Standards” or the “1991 ADA”) or in the 2010 ADA Standards

for Accessible Design codified in 36 CFR part 1191 Appendices B and D and 28 CFR

part 36 subpart D (hereinafter referred to as the “2010 Standards” or the “2010 ADA”)




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       21.     Because of Defendants’ failure to comply with the above-mentioned laws,

including but not limited to the 1991 Standards or the 2010 Standards and the

Administrative Code, Plaintiff was and has been unable to enjoy safe, equal, and

complete access to all of the areas of the Sweet Chick premises that are open and

available to the public.

       22.     Defendants' place of public accommodation has not been designed,

constructed, or altered in compliance with the 1991 Standards, the 2010 Standards, the

1968 New York City Building Code, Administrative Code, Title 27 (“1968 BC”),

including the 1968 BC Reference Standard ANSI 117.1-1986 (“1968 Ref Std”), the 2008

New York City Building Code (“2008 BC”) including the 2008 BC Reference Standard

ICC/ANSI 117.1 2003 (“2008 Ref Std”) and the 2014 New York City Building Code

(“2014 BC”) including the 2014 BC Reference Standard ICC/ANSI 117.1 2009 (“2014

Ref Std”).

       23.     Barriers to access that Plaintiff encountered and/or which deter Plaintiff

from patronizing the Sweet Chick premises as well as architectural barriers that exist

include, but are not limited to, the following:

       I.      An accessible route is not provided from the public street and sidewalk to
               the store entrance.
               Defendants fail to provide that at least one accessible route shall be
               provided within the site from public streets and sidewalks to the accessible
               building or facility entrance they serve. See 1991 ADA § 4.1.2(1); 2010
               ADA § 206.2.1; 1968 BC§ 27-292.5(b); 2008 BC § 1104.1; and 2014 BC
               § 1104.1.
       II.     The public entrance to the Sweet Chick premises is not compliant with any
               of the accessibility standards.
               Defendants fail to provide that at least 50% of all its public entrances are
               accessible. See 1991 ADA § 4.1.3(8)(a)(i).
               Defendants fail to provide that at least 60% of all its public entrances are
               accessible. See 2010 ADA § 206.4.1.



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            Defendants fail to provide that primary entrances are accessible. See 1968
            BC § 27-292.5(a).
            Defendants fail to provide that all of its public entrances are accessible.
            See 2008 BC § 1105.1; and 2014 BC § 1105.1.
    III.    No signage identifies an accessible entrance (to the extent Defendants
            claim they provide an accessible public entrance).
            Defendants fail to display signage (marked with the International Symbol
            of Accessibility or otherwise) that identifies an accessible entrance. See
            1991 ADA §§ 4.1.2(7)(c); 4.1.3(8)(d); and 4.1.6(1)(h); 2010 ADA § 216.6;
            1968 BC § 27- 292.18; 2008 BC § 1110; and 2014 BC §§ 1101.3.4; and
            1110.
    IV.     Maneuvering clearances for pulling open the entrance door is not
            provided.
            Defendants fail to provide that floor or ground surface within required
            maneuvering clearances at doors shall have slopes not steeper than 1:48
            (2.0%) and changes in level are not permitted. 60 inches perpendicular to
            the door for 18 inches parallel to the door beyond the latch is required for
            a forward approach to the pull side of a door, or 54 inches perpendicular
            to the door for 24 inches parallel to the door beyond the latch is required
            for a latch approach to the pull side of a door. See 1991 ADA § 4.13.6;
            2010 ADA § 404.2.4; 1968 Ref Std § 4.13.6; 2008 Ref Std § 404.2.3; and
            2014 Ref Std § 404.2.3.
    V.      The ramp at the public entrance slopes in excess of 8.33%.
            Defendants fail to provide that ramp runs shall have a running slope not
            steeper than 1:12 at accessible ramps. See 1991 ADA § 4.8.2; 2010 ADA
            § 405.2; 1968 Ref Std § 4.8.2; 2008 Ref Std § 405.2; and 2014 Ref Std §
            405.2.
    VI.     The ramp at the public entrance lacks handrails on both sides.
            Defendants fail to provide handrails on both sides of the ramps. See 1991
            ADA § 4.8.5; 2010 ADA § 405.8; 1968 Ref Std § 4.8.5; 2008 Ref. Std §
            505.2; and 2014 Ref. Std § 505.2.
    VII.    The ramp at the public entrance lacks a level bottom landing.
            Defendants fail to provide accessible ramps with slopes not steeper than
            1:48 at the bottoms. See 1991 ADA § 4.8.4; 2010 ADA § 405.7; 1968 Ref
            Std § 4.8.4; 2008 Ref Std § 405.7.1; and 2014 Ref Std § 405.7.1.
    VIII.   The ramp at the public entrance lacks a top landing of at least 60 inches in
            length.
            Defendants fail to provide a landing clear length of at least 60 inches
            (1525 mm) long minimum. See 1991 ADA § 4.8.4; 2010 ADA § 405.7.3;
            1968 Ref Std § 4.8.4; 2008 Ref. Std § 405.7.3; and 2014 Ref. Std § 405.7.3.
    IX.     There are no accessible tables in the dining area. All tables have chairs,
            and/or a pedestal that obstruct knee and toe clearances required for a
            forward approach to the seating.



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            Defendants fail to provide that at least 5% of the dining surfaces provided
            to customers are accessible. See 1991 ADA § 5.1; 2010 ADA § 226.1;
            1968 BC § 27-292.10(a)(3); 2008 BC § 1109.11; and 2014 BC § 1109.10.
            Defendants fail to provide (due to chairs, table pedestals and/or table
            legs) a clear floor space of 30 inches by 48 inches positioned for a
            forward approach and the required knee and toe clearance at accessible
            work surfaces and/or table surfaces. See 1991 ADA § 4.32.2; 2010 ADA §
            902.2; 1968 Ref Std § 4.30.2; 2008 Ref Std § § 902.2; and 2014 Ref Std §
            902.2.
    X.      Accessible dining surfaces are not identified by the International Symbol
            of Accessibility (to the extent Defendants claim they provide accessible
            table(s)).
            Defendants fail to provide that accessible seating shall be identified by the
            International Symbol of Accessibility. See 2008 BC § 1110.1(9) and 2014
            BC § 1110.1(11).
    XI.     The toilet room is not accessible.
            Defendants fail to provide accessible toilet facilities. See 1991 ADA §
            4.1.3(11); 2010 ADA § 213.1; 1968 BC § 27-292.12; 2008 BC § 1109.2;
            and 2014 BC § 1109.2.
    XII.    The door at the toilet room has hardware that requires twisting of the wrist
            (such as a twist lock type hardware).
            Defendants fail to provide handles, pulls, latches, locks, and other
            operable parts that are operable with one hand and do not require tight
            grasping, pinching, or twisting of the wrist. See 1991 ADA § 4.13.9; 2010
            ADA § 404.2.7; 1968 Ref Std § 4.13.9; 2008 Ref Std § 404.2.6; and 2014
            Ref Std § 404.2.6.
    XIII.   The lavatory in the toilet room lacks protected hot water and drain pipes.
            Defendants fail to provide accessible lavatories and/or sinks with water
            supply and drain pipes that are insulated or otherwise configured to
            protect against contact. See 1991 ADA §§ 4.19.4 and 4.24.6; 2010 ADA §
            606.5; 1968 Ref Std § 4.19.4; 2008 Ref Std § 606.6; and 2014 Ref Std §
            606.6.
    XIV. The toilet room lacks an accessible water closet.
         Defendants fail to provide at least one accessible water closet within
         accessible toilet and bathing facilities. See 1991 ADA § 4.23.4, 2010 ADA
         § 213.3.2, and 2014 BC § 1109.2.
    XV.     The entrance, which is also an exit, is not accessible.
            Defendants fail to provide accessible means of egress in the number
            required by the code. See 1991 ADA § 4.1.3(9); 2010 ADA § 207.1; 1968
            BC §§ 27-292.1 and 27-357(d); 2008 BC § 1007.1; and 2014 BC §
            1007.1.




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        24.     Upon information and belief, a full inspection of the Sweet Chick

premises will reveal the existence of other barriers to access.

        25.     As required by the ADA (remedial civil rights legislation) to properly

remedy Defendants’ discriminatory violations and avoid piecemeal litigation, Plaintiff

requires a full inspection of the Sweet Chick premises in order to catalogue and cure all

of the areas of non-compliance with the ADA. Notice is therefore given that Plaintiff

intends on amending the Complaint to include any violations discovered during an

inspection that are not contained in this Complaint.

        26.     Defendants have denied Plaintiff the opportunity to participate in or

benefit from services or accommodations because of disability.

        27.     Defendants have not satisfied their statutory obligation to ensure that their

policies, practices, procedures for persons with disabilities are compliant with the laws.

Nor have Defendants made or provided accommodations or modifications to persons

with disabilities.

        28.     Plaintiff has a realistic, credible, and continuing threat of discrimination

from the Defendants’ non-compliance with the laws prohibiting disability discrimination.

The barriers to access within the Sweet Chick premises continue to exist and deter

Plaintiff.

        29.     Situated on Bedford Avenue, the Sweet Chick premises is located on the

main commercial corridor of Williamsburg.

        30.     Plaintiff frequently travels to the area where the Sweet Chick premises is

located.




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       31.     Plaintiff enjoys dining out, including at restaurants and fast-food

establishment in his neighborhood.

       32.     The operators of the Sweet Chick premises advertise on their website that

they “serve[] the best chicken and waffles on planet Earth.”

       33.     The aggregate of 3,321 Google reviews rates the food and dining

experience at the Sweet Chick premises at 4.5 (out of 5) stars.

       34.     Plaintiff resides in the Williamsburg neighborhood of Kings County in

which the Sweet Chick premises is located.

       35.     Plaintiff enjoys Southern-inspired soul-food, the like of which is also sold

at the Sweet Chick premises.

       36.     Plaintiff attempted to visit the Sweet Chick premises to enjoy the food, but

he was denied access to the Sweet Chick premises due to architectural barriers. Plaintiff

therefore suffered an injury in fact.

       37.     Plaintiff remains deterred from patronizing the Sweet Chick premises

because of the barriers to access that exist at the Sweet Chick premises.

       38.     Plaintiff intends to patronize the Sweet Chick premises one or more times

a year after it becomes fully accessible and compliant with the 1991 Standards or the

2010 Standards, and the Administrative Code.

       39.     Plaintiff is also a “tester” for the purposes of asserting basic civil rights

and monitoring, ensuring, and determining whether the Sweet Chick premises is fully

accessible and compliant with the 1991 Standards or the 2010 Standards, and the

Administrative Code.




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       40.     Plaintiff also intends to utilize his visits to the Sweet Chick premises to

monitor, ensure, and determine whether the Sweet Chick premises is fully accessible and

compliant with the 1991 Standards or the 2010 Standards, and the Administrative Code.

       41.     Plaintiff continues to suffer an injury due to Defendants maintenance of

architectural barriers at the Sweet Chick premises. This is because he desires to dine at

the Sweet Chick premises but is denied the opportunity to do so based on disability

because Defendants discriminate against him in violation of the ADA, the NYSHRL and

the NYCHRL as they created, maintain and have failed to remove architectural barriers to

wheelchair access at the Sweet Chick premises.

                         FIRST CAUSE OF ACTION
        (VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT)

       42.     Plaintiff realleges and incorporates by reference all allegations set forth in

this Complaint as if fully set forth herein.

       43.     Plaintiff is substantially limited in the life activity of both walking and

body motion range and thus has a disability within the meaning of the ADA. As a direct

and proximate result of Plaintiff’s disability, Plaintiff uses a wheelchair for mobility, and

also has restricted use of arms and hands.

       44.     The ADA imposes joint and several liability on both the property owner

and lessee of a public accommodation. 28 C.F.R. 36.201(b).

       45.     Under the ADA, both the property owner and lessee are liable to the

Plaintiff, and neither can escape liability by transferring their obligations to the other by

contract (i.e. lease agreement). 28 C.F.R. 36.201(b).

       46.     Defendants have and continue to subject Plaintiff to disparate treatment by

denying Plaintiff full and equal opportunity to use their place of public accommodation



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all because Plaintiff is disabled. Defendants’ policies and practices have and continue to

subject Plaintiff to disparate treatment and disparate impact.

       47.      By failing to comply with the law in effect for decades, Defendants have

articulated to disabled persons such as the Plaintiff that they are not welcome,

objectionable, and not desired as patrons of their public accommodation.

       48.      Defendants have discriminated against the Plaintiff by designing and/or

constructing a building, facility and place of public accommodation that is not readily

accessible to and usable by the disabled Plaintiff and not fully compliant with the 1991

Standards or the 2010 Standards. See 28 C.F.R. § 36.401(A)(1) and 42 U.S.C.

§12183(a)(1).

       49.      The Sweet Chick premises are not fully accessible and fail to provide an

integrated and equal setting for the disabled, all in violation of 42 U.S.C.

§12182(b)(1)(A) and 28 C.F.R. § 36.203.

       50.      Defendants failed to make alteration accessible to the maximum extent

feasible in violation of 28 C.F.R. §§ 36.402 and 36.406 and 42 U.S.C. §12183(a)(2).

       51.      The paths of travel to the altered primary function areas were not made

accessible in violation of 28 C.F.R. § 36.403.

       52.      Defendants failed to make all readily achievable accommodations and

modifications to remove barriers to access in violation of 28 C.F.R. § 36.304. It would

be readily achievable to make Defendants’ place of public accommodation fully

accessible.

       53.      By failing to remove the barriers to access where it is readily achievable to

do so, Defendants have discriminated against Plaintiff on the basis of disability in




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violation of § 302(a) and 302(b)(2)(A)(iv) of the ADA, 42 U.S.C. § 12182(a),

(b)(2)(A)(iv), and 28 C.F.R. § 36.304.

          54.   In the alternative, Defendants have violated the ADA by failing to provide

Plaintiff with reasonable alternatives to barrier removal as required by 28 C.F.R. §

36.305.

          55.   Defendants’ failure to remove the barriers to access constitutes a pattern

and practice of disability discrimination in violation of 42 U.S.C. § 12181 et. seq., and 28

C.F.R § 36.101 et. seq.

          56.   Defendants have and continue to discriminate against Plaintiff in violation

of the ADA by maintaining and/or creating an inaccessible public accommodation.

                     SECOND CAUSE OF ACTION
      (VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW)

          57.   Plaintiff realleges and incorporates by reference all allegations set forth in

this Complaint as if fully set forth herein.

          58.   Plaintiff suffers from various medical conditions that separately and

together prevent the exercise of normal bodily functions in Plaintiff; in particular, the life

activities of both walking and body motion range. Plaintiff therefore suffers from a

disability within the meaning of the Executive Law § 292(21).

          59.   In 2019, the New York State legislature enacted legislation that provides

effective immediately that the New York State Human Rights Law shall be “construed

liberally for the accomplishment of the remedial purposes thereof, regardless of whether

federal civil rights laws, including those laws with provisions worded comparably to the

provisions of this article, have been so construed”. See Executive Law § 300 [effective

date: August 12, 2019].



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        60.     By amending the Executive Law § 300 to mirror the text of the New York

City Local Civil Rights Restoration Act of 2005 (Local Law 85 of 2005), the New York

State legislature confirmed the legislative intent to abolish parallel construction between

the New York State Human Rights Law and related Federal anti-discrimination laws.

        61.     Defendants have and continue to subject Plaintiff to disparate treatment by

denying Plaintiff equal opportunity to use their place of public accommodation all

because Plaintiff is disabled.

        62.     Defendants discriminated against Plaintiff in violation of NYSHRL

(Executive Law § 296(2)), by maintaining and/or creating an inaccessible place of public

accommodation. Each of the Defendants have aided and abetted others in committing

disability discrimination.

        63.     Defendants have failed to make all readily achievable accommodations

and modifications to remove barriers to access in violation of NYSHRL (Executive Law

§ 296(2)(c)(iii)).

        64.     In the alternative, Defendants have failed to provide Plaintiff with

reasonable alternatives to barrier removal as required in violation of NYSHRL

(Executive Law § 296(2)(c)(v)).

        65.     It would be readily achievable to make Defendants’ place of public

accommodation fully accessible.

        66.     It would not impose an undue hardship or undue burden on Defendants to

make their place of public accommodation fully accessible.




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       67.     As a direct and proximate result of Defendants' unlawful discrimination in

violation of NYSHRL, Plaintiff has suffered, and continues to suffer emotional distress,

including but not limited to humiliation, embarrassment, stress, and anxiety.

       68.     Plaintiff has suffered and will continue to suffer damages in an amount to

be determined at trial.

                      THIRD CAUSE OF ACTION
       (VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW)

       69.     Plaintiff realleges and incorporates by reference all allegations set forth in

this Complaint as if fully set forth herein.

       70.     Plaintiff suffers from various medical conditions that separately and

together, impair Plaintiff’s bodily systems - in particular, the life activity of both walking

and body motion range -and thus Plaintiff has a disability within the meaning of the

NYCHRL (Administrative Code § 8-102).

       71.     The Local Civil Rights Restoration Act of 2005 (the “Restoration Act”),

also known as Local Law 85, clarified the scope of the Administrative Code in relation to

the NYCHRL. The Restoration Act confirmed the legislative intent to abolish

“parallelism” between the NYCHRL and the Federal and New York State anti-

discrimination laws by stating as follows:

       The provisions of this title shall be construed liberally for the accomplishment of
       the uniquely broad and remedial purposes thereof, regardless of whether federal
       or New York State civil and human rights laws, including those laws with
       provisions comparably-worded to provisions of this title, have been so construed.

Restoration Act § 7 amending Administrative Code §8-130 of the NYCHRL (emphasis

added). The Restoration Act is to be construed broadly in favor of Plaintiff to the fullest

extent possible. See also New York City Local Law 35 of 2016.




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       72.     Defendants have and continue to subject Plaintiff to disparate treatment

and disparate impact by directly and indirectly refusing, withholding, and denying the

accommodations, advantages, facilities, and privileges of their place of public

accommodation all because of disability in violation of the NYCHRL (Administrative

Code § 8-107(4)). Each of the Defendants have aided and abetted others in committing

disability discrimination.

       73.     Defendants have and continue to commit disability discrimination in

violation of the Administrative Code (inclusive of § 8-107(4)) because of the violations

of the ADA as alleged herein.

       74.     Defendants have discriminated, and continue to discriminate, against

Plaintiff in violation of the NYCHRL (Administrative Code § 8-107(4)) by designing,

creating and/or maintaining an inaccessible commercial facility/space.

       75.     Defendants have subjected, and continue to subject, Plaintiff to disparate

treatment by directly and indirectly refusing, withholding, and denying the

accommodations, advantages, facilities, and privileges of their commercial facility/space

all because of disability in violation of the NYCHRL (Administrative Code § 8-107(4)).

       76.     Defendants’ policies and procedures inclusive of the policies of refusing to

expend funds to design, create and/or maintain an accessible commercial facility/space is

a discriminatory practice in violation of NYCHRL (Administrative Code § 8-107 (4)).

       77.     Defendants’ failure to provide reasonable accommodations for persons

with disabilities, inclusive of Defendants’ failure to remove the barriers to access

identified herein, and their consequent denial of equal opportunity to Plaintiff, constitutes




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an ongoing continuous pattern and practice of disability discrimination in violation of

NYCHRL (Administrative Code §§ 8-107(4) and 8-107(15)).

        78.     In violation of the NYCHRL (Administrative Code § 8-107(6)),

Defendants have and continue to, aid and abet, incite, compel, or coerce each other in

each of the other Defendants’ attempts to, and in their acts of directly and indirectly

refusing, withholding, and denying the accommodations, advantages, facilities, and

privileges of their commercial facility/space and the place of public accommodation

therein, all because of disability, as well as other acts in violation of the NYCHRL.

        79.     Administrative Code §§ 19-152 and 7-210 impose a non-delegable duty on

the property owner to repave, reconstruct, repair, and maintain its abutting public

sidewalk. As a result, Jerry Lebedowicz continuously controlled, managed, and operated

the public sidewalk abutting 164 Bedford Avenue, which includes the portion of the

sidewalk constituting the entrance to Defendants’ place of public accommodation.

        80.     Jerry Lebedowicz’s failure to construct and maintain an accessible

entrance from the public sidewalk to Defendants’ place of public accommodation

constitutes disability discrimination in a violation of the Administrative Code.

        81.     Defendants discriminated against Plaintiff in violation of the NYCHRL

(Administrative Code, § 8-107(4)) by maintaining and/or creating an inaccessible public

accommodation.

        82.     Defendants’ conduct also violates the NYCHRL, Administrative Code 8-

107 (17), which states that “an unlawful discriminatory practice . . . is established . . .

[when plaintiff] demonstrates that a policy or practice of a covered entity or a group of




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policies or practices of a covered entity results in a disparate impact to the detriment of

any group protected by the provisions of this chapter.”

       83.     Because Defendants’ public accommodation is not readily accessible and

usable by people with disabilities, Defendants have demonstrated a policy or practice that

has a disproportionately negative impact on the disabled (including plaintiff).

       84.     Defendants’ conduct constitutes an ongoing and continuous violation of

the NYCHRL. Unless Defendants are enjoined from further violations, Plaintiff will

continue to suffer injuries for which there is no adequate remedy at law. In particular,

Plaintiff will suffer irreparable harm by being denied the accommodations, advantages,

facilities, or privileges of the Defendants’ public accommodation.

       85.     As a direct and proximate result of Defendants' unlawful discrimination in

violation of the NYCHRL, Plaintiff has suffered, and continues to suffer emotional

distress, including but not limited to humiliation, stress, and embarrassment.

       86.     Upon information and belief, Defendants’ long-standing refusal to make

their place of public accommodation fully accessible was deliberate, calculated,

egregious, and undertaken with reckless disregard to Plaintiff’s rights under the

NYCHRL.

       87.     By failing to comply with the law in effect for decades, Defendants have

articulated to disabled persons such as the Plaintiff that they are not welcome,

objectionable, and not desired as patrons of their public accommodation.

       88.     Defendants engaged in discrimination with willful or wanton negligence,

and/or recklessness, and/or a conscious disregard of the rights of others and/or conduct so




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reckless as to amount to such disregard for which Plaintiff is entitled to an award of

punitive damages pursuant to NYCHRL (Administrative Code § 8-502).

       89.     By refusing to make their place of public accommodation accessible,

Defendants have unlawfully profited from their discriminatory conduct by collecting

revenue from a non-compliant space and pocketing the money that they should have

lawfully expended to pay for a fully compliant and accessible space. Defendants’

unlawful profits plus interest must be disgorged.

       90.     Plaintiff has suffered and will continue to suffer damages in an amount to

be determined at trial.

                     FOURTH CAUSE OF ACTION
       (VIOLATIONS OF THE NEW YORK STATE CIVIL RIGHTS LAW)

       91.     Plaintiff realleges and incorporates by reference all allegations set in this

Complaint as if fully set forth herein.

       92.     Defendants discriminated against Plaintiff pursuant to New York State

Executive Law.

       93.     Consequently, Plaintiff is entitled to recover the monetary penalty

prescribed by Civil Rights Law §§ 40-c and 40-d for each and every violation.

       94.     Notice of this action has been served upon the Attorney General as

required by Civil Rights Law § 40-d.

                                     INJUNCTIVE RELIEF

       95.     Plaintiff will continue to experience unlawful discrimination as a result of

Defendants' failure to comply with the above-mentioned laws. Therefore, injunctive

relief is necessary to order Defendants to alter and modify their place of public

accommodation and their operations, policies, practices, and procedures.



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       96.      Injunctive relief is also necessary to make Defendants' facilities readily

accessible to and usable by Plaintiff in accordance with the above-mentioned laws.

       97.      Injunctive relief is further necessary to order Defendants to provide

auxiliary aids or services, modification of their policies, and/or provision of alternative

methods, in accordance with the ADA, NYSHRL, and the NYCHRL.

                                       JURY DEMAND

                    Plaintiff demands a trial by jury on all claims so triable.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court enter a judgment

against the Defendants, jointly and severally, in favor of Plaintiff that contains the

following relief:

             A. Enter declaratory judgment declaring that Defendants have violated the

ADA and its implementing regulations, the NYSHRL, and the NYCHRL and declaring

the rights of Plaintiff as to Defendants' place of public accommodation, and Defendants’

policies, practices, and procedures;

             B. Issue a permanent injunction ordering Defendants to close and cease all

business until Defendants remove all violations of the ADA, the 1991 Standards or the

2010 Standards, the NYSHRL, and the NYCHRL, including but not limited to the

violations set forth above;

             C. Retain jurisdiction over the Defendants until the Court is satisfied that the

Defendants' unlawful practices, acts and omissions no longer exist and will not reoccur;

             D. Award Plaintiff compensatory damages as a result of Defendants'

violations of the NYSHRL and the NYCHRL;




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           E. Award Plaintiff punitive damages in order to punish and deter the

Defendants for their violations of the NYCHRL;

           F. Award Plaintiff the monetary penalties for each and every violation of the

law, per defendant, pursuant to New York State Civil Rights Law §§ 40-c and 40-d;

           G. Find that Plaintiff is a prevailing party and award reasonable attorney’s

fees, costs, and expenses pursuant to the NYSHRL and the NYCHRL;

           H. Find that Plaintiff is a prevailing party and award reasonable attorney’s

fees, costs, and expenses pursuant to the ADA; and

           I. For such other and further relief, at law or in equity, to which Plaintiff

may be justly entitled.

Dated: February 24, 2023
       New York, New York
                                              Respectfully submitted,

                                              PARKER HANSKI LLC

                                              By:    /s
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